            Case 1:22-cv-10202-JGD Document 57 Filed 08/17/22 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 MARGARET CZERWIENSKI,
 LILIA KILBURN, and AMULYA
 MANDAVA

        Plaintiffs,
                                                         Case No. 1:22-cv-10202-JGD
 v.

 HARVARD UNIVERSITY AND THE
 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE

        Defendant.

   PLAINTIFFS’ ASSENTED-TO MOTION FOR LEAVE TO EXCEED PAGE LIMIT

       Plaintiffs Margaret Czerwienski, Lilia Kilburn, and Amulya Mandava, with the assent of

counsel for Defendant, hereby move for leave to file a 35-page Memorandum in Opposition to

Defendant’s Motion to Dismiss Counts One Through Nine (the “Motion to Dismiss”), in response

to Defendant’s memorandum of the same length. In support, Plaintiffs state as follows:

       1.       On July 19, 2022, the Court granted Defendant leave to file a 35-page

Memorandum in Support of its Motion to Dismiss, Dkt. 46, which Defendant filed the same day.

See Dkt. 54.

       2.       Plaintiffs’ Opposition to Defendant’s Motion to Dismiss is due on August 23, 2022.

Dkt. 40. This Court’s local rules limit the length of Plaintiffs’ anticipated Opposition to 20

pages absent leave of court. See Local Rule 7.1(b)(4).

       3.       Plaintiffs seek leave to file a brief of the same length (35 pages) as Defendant’s

Memorandum in Support of its Motion to Dismiss. Defendant’s Motion to Dismiss challenges nine

of the ten counts asserted in Plaintiffs’ 89-page Amended Complaint. Plaintiffs respectfully submit
            Case 1:22-cv-10202-JGD Document 57 Filed 08/17/22 Page 2 of 3




that the requested extension is necessary for Plaintiffs to fully respond to the various arguments

Defendant raises as to each separate count and will aid the Court in resolving the issues presented.

       4.       Defendant assents to the relief sought herein.

       Accordingly, Plaintiffs respectfully request that this Court grant Plaintiffs leave to file a

brief of 35 pages in Opposition to Defendant’s Motion to Dismiss.

Dated: August 17, 2022                        Respectfully submitted,

                                              /s/ Russell Kornblith
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         Case 1:22-cv-10202-JGD Document 57 Filed 08/17/22 Page 3 of 3




                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

       I hereby certify that counsel for Plaintiffs conferred with counsel for Defendant on August

11, 2022. Defendant assents to the requested relief.

                                                       /s/ Russell Kornblith
                                                       Russell Kornblith
